                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF GEORGIA
                                      ATHENS DIVISION

DEALER COMPUTER SERVICES, INC.
f/k/a FORD DEALER COMPUTER
SERVICES, INC., a Delaware corporation,

            Plaintiff and Judgment Creditor,

V                                                      NO. 3:1 0-mc-00002-CDL

CLAUDE RAY FORD SALES, INC., a
Georgia corporation,

            Defendant and Judgment Debtor


STATE OF GEORGIA  )
                  )SS.
COUNTY OF FULTON )

             AFFIDAVIT OF YENDELELA NEELY ANDERSON
       REGARDING ATTORNEY’S FEES AND COSTS IN SUPPORT OF
PLAINTIFF’S MOTION FOR SANCTIONS FOR DEFENDANT’S DISOBEDIENCE OF
           THE COURT’S POST-JUDGMENT DISCOVERY ORDER

            Personally appeared before me, the undersigned attesting officer duly authorized to

administer oaths, YENDELELA NEELY ANDERSON, who, after being duly sworn, stated

under oath as follows:

             1.    My name is YENDELELA NEELY ANDERSON. I am over the age of 21 years,

suffering from no known disabilities, and am otherwise competent to testify. I have been

licensed to practice law in the State of Georgia since 2006. I am an associate with the law firm

of Kilpatrick Townsend & Stockton LLP.

            2.     Burleigh L. Singleton, a partner with Kilpatrick Townsend & Stockton LLP, and I

have been retained by John C. Allen, P.C. to serve as local counsel for Dealer Computer

Services, Inc. ("Dealer") in the above-captioned matter. In this capacity, I have personal


US2008 2565727.3
knowledge of the facts contained herein and the documents attached hereto, and confirm that

those facts and documents are true and correct.

       3.      On March 15, 2010, the United States District Court for the Southern District of

Texas entered a Final Default Judgment in favor of Dealer and against Claude Ray Ford Sales,

Inc. ("Claude Ray Ford") in the matter of Dealer Computer Services, Inc. f/k/a Ford Dealer

Computer Services, Inc. v. Claude Ray Ford Sales, Inc., Case Number 4:09-cv-3328. Dealer

registered the Final Default Judgment with this Court on April 20, 2010.

       4.      On July 6, 2010, and again on July 15, 2010, Dealer served Claude Ray Ford with

Plaintiffs First Request for Production of Documents. Claude Ray Ford failed to respond to

these requests in the time required by law. After unsuccessfully attempting to resolve this

discovery dispute, Dealer moved to compel Claude Ray Ford to produce documents and

information responsive to Dealer’s discovery requests on October 29, 2010. Dealer incurred

$4,286.50 in attorneys’ fees and $108.71 in legal expenses related to the motion to compel.

       5.      On December 6, 2010, this Court issued an Order compelling Claude Ray Ford to

"respond to [Dealer’s] document requests by 5:00 p.m. on January 7, 2011." The Court further

ruled that "if [Claude Ray Ford] fail[ed] to comply with this order,       such fees and expenses

[incurred by Dealer in bringing the motion to compel]      shall be assessed against Defendant

along with other more serious sanctions." (Emphasis added).

       6.      Claude Ray Ford failed to comply with the Court’s January 7, 2011 deadline, and

Dealer moved for sanctions on February 2, 2011. Dealer incurred $2,885.00 in attorneys’ fees

and $291.50 in legal expenses related to the motion for sanctions.

       7.      On February 16, 2011, this Court issued an Order requiring Claude Ray Ford to

appear at 11:00 a.m. on March 30, 2011 "at the United States Courthouse, 115 East Hancock
Avenue, Second Floor, Athens, Georgia 30601, to show cause why [Claude Ray Ford] should

not be held on contempt of Court for failing to comply with the Court’s Order dated December 6,

2010" (the "Show Cause Hearing")

       8.         I represented Dealer at the Show Cause Hearing. Dealer incurred $4,149.50 in

attorneys’ fees and $277.06 in legal expenses related to the Show Cause Hearing.

       9.         As demonstrated above, from March 19, 2010 through March 31, 2011, Dealer

has incurred a total of $11,321.50 in attorneys’ fees and $677.27 in legal expenses in obtaining

the discovery necessary to enforce the Final Default Judgment. These fees and expenses include

preparation of the Motion to Compel and supporting documents, preparation of the Motion for

Sanctions and supporting documents, preparation for the Show Cause Hearing, and

correspondence regarding the motions and hearing. A true and correct copy of the invoices

issued to Dealer by Kilpatrick Townsend & Stockton LLP and John C. Allen, P.C. related to this

action are attached hereto as Exhibits 1 and 2. Privileged information has been redacted from

these invoices.

        10.       I have reviewed all of the invoices issued to Dealer by Kilpatrick Townsend &

Stockton LLP and John C. Allen, P.C. in connection with this matter. Based on my experience

as an attorney in Georgia, the legal fees incurred by Dealer are reasonable based on the

complexity of this matter, the rates for attorneys in the jurisdiction, and the experience of the

attorneys representing Dealer.
       FURTHER AFFIANT SAYETH NAUGHT.




Sworn to and subscribed before me
This jjday of May, 2011.

 i7ka          tiZZ
Notary Public
My Commission expires:
                                        f#pvm \
                                    - ClI

                                        tA
                                       lg,fl;%
EXHIBIT 1
V           KILPATRICK
                                                                                                                                            Please Remit Payments Only To:
                                                                                                                                                            P.O. Box 945614
                                                                                                                                                     Atlanta, Georgia 30394
            TOWNSEND                                                                                                                               Telephone (866) 244-4934
            ATTORNEYS AT LAW                                                                                                                  www.kilpatricktownsend.com
                                                                                                                                                        Fed I.D. XX-XXXXXXX




January 24, 2011

DEALER COMPUTER SERVICES, INC.                                                                                Client:                        49123
C/O AARON D. WEINBERG, ESQ.                                                                                   Matter:                        389934
JOHN C. ALLEN, ESQ.                                                                                           Invoice #:                     11154506
TWO HOUSTON CENTER
909 FANN1N, SUITE 1225
HOUSTON, TX 77010

RE: CLAUDE RAY FORD

For Professional Services Through December 31, 2010:

Date                 Initials Description                                                                                                        Hours                   Amount
12/06/2010           YMN            Review order granting motion to compel; correspondence                                                           0.60                  171.00
                                    with Mr. Phelps regarding order granting motion to compel;
                                    correspondence with Mr. Allen regarding order granting
                                    motion to compel.
12/06/2010           BLS            Review order; conference with Ms. Neely regarding same and                                                       0.30                  142.50
                                    litigation strategy.

                                                    Total Fees                                                                                                           $313.50

TOTAL AMOUNT DUE THIS INVOICE                                                                                                                                             $313.50




                           Amounts are calculated per entry, rounding discrepancies may occur in summaries or totals as a
                                                          result ofprearranged discounts.

                                           Other Charges include a reasonable allocation of related overhead expenses.
                                      Due and Payable upon receipt. 1% interest per month charged on balances after 30 days.
       ATLANTA AUGUSTA CHARLOTTE DENVER DUBAI NEW YORK OAKLAND PALO ALTO RALEIGH SAN DIEGO SAN FRANCISCO SEATTLE STOCKHOLM TAIPEI TOKYO WALNUT CREEK WASHINGTON, DC WINSTON.SALEM
                                                                                                             Please Remit Payments Only To:
       KILPATRICK                                                                                                            P.O. Box 945614
                                                                                                                      Atlanta Georgia 30394
ik     STOCKTON LLP                                                                                                  Telephone (866)244-4934
       Attorneys at Law                                                                                         www.kilpatrickstockton.com
                                                                                                                         Fed I.D. XX-XXXXXXX




December 11, 2010

DEALER COMPUTER SERVICES, INC.                                                       Client:                  49123
C/O AARON D. WEINBERG, ESQ.                                                          Matter:                  389934
JOHN C. ALLEN, ESQ.                                                                  Invoice #:               11148150
TWO HOUSTON CENTER
909 FANNIN, SUITE 1225
HOUSTON, TX 77010

RE: CLAUDE RAY FORD

For Professional Services Through November 30, 2010:

Date          Initials Description                                                                                  Hours         Amount
10/29/2010    YMN         Update from Ms. Robertgs; review and finalize material                                     0.40           114.00
                          supporting documents.
10/29/2010    MLR         Review and revise motion and memorandum in support;                                        1.00           185.00
                          conference with Mr. Singleton regarding declaration; update
                          Ms. Neely; electronically file motion to compel and
                          supporting documents; serve paper copies via mail.

                                      Total Fees                                                                                  $299.00


Other Charges.
                   Long Distance Charges                                                                                              3.96

                   Facsimile Charges                                                                                                   1.50

                                                     Total Other Charges                                                             $5.46

TOTAL AMOUNT DUE THIS INVOICE                                                                                                      $304.46




                  Amounts are calculated per entry, rounding discrepancies may occur in summaries or totals as a
                                                 result ofprearranged discounts.

                                Other Charges include a reasonable allocation of related overhead expenses.
                           Due and Payable upon receipt. 1% interest per month charged on balances after 30 days.
                          ATLANTA AUGUSTA CHARLOTTE DUBAI NEW YORK RALEIGH STOCKHOLM WASHINGTON WINSTON-SALEM
                                                                                                              Please Remit Payments Only To:


4      KI LPATRI CK
       STOCKTON LLP
       Attorneys at Law
                                                                                                                              P.O. Box 945614
                                                                                                                        Atlanta Georgia 30394
                                                                                                                      Telephone (866)244-4934
                                                                                                                 www.kilpatrickstockton.com
                                                                                                                           Fed I.D. XX-XXXXXXX




November 5, 2010

DEALER COMPUTER SERVICES, INC.                                                       Client:                   49123
C/0 AARON D. WEINBERG, ESQ.                                                          Matter:                   389934
JOHN C. ALLEN, ESQ.                                                                  Invoice #:                11143787
TWO HOUSTON CENTER
909 FANNIN, SUITE 1225
HOUSTON, TX 77010

RE: DEALER COMPUTER SERVICES, INC. FKA FORD DEALER C

For Professional Services Through October 31, 2010:

Date          Initials Description                                                                                  Hours           Amount
10/14/2010    MLR         Conference with Mr. Singleton regarding correspondence to                                  0.20              37.00
                          defendants for motion to compel.
10/22/2010    MLR         Correspondence regarding discovery requests; forward copies                                0.50              92.50
                          of same to dealership and to recipients’ home addresses.
10/22/2010    BLS         Review file; review and revise motion to compel;                                           0.80            380.00
                          correspondence to Defendant to resolve discovery dispute.
10/25/2010    YMN         Conference with Mr. Singleton and Ms. Roberts regarding                                    0.40             114.00
                          discovery issues and motion to compel; correspondence with
                          Mr. Allen regarding status.
10/25/2010    MLR         Forward documents to Mr. Phelps; conference with Ms.                                       0.70             129.50
                          Neely and Mr. Singleton regarding discovery.
10/29/2010    YMN         Correspondence with Clerk of Court for the Middle District                                 2.80            798.00
                          of Georgia regarding case; review and revise B. Singleton
                          Declaration; review and revise Memorandum of Law in
                          Support of Motion to compel; review and revise Motion to
                          Compel.

                                      Total Fees                                                                                 $1,551.00


                  Amounts are calculated per entry, rounding discrepancies may occur in summaries or totals as a
                                                 result ofprearranged discounts.

                                Other Charges include a reasonable allocation of related overhead expenses.
                           Due and Payable upon receipt. 1% interest per month charged on balances after 30 days.
                          ATLANTA AUGUSTA CHARLOTTE DUBAI NEW YORK RALEIGH STOCKHOLM WASHINGTON WINSTON-SALEM
49123/389934                                                                             Page 2




Other Charges:
10/29/2010       Federal Express from Kilpatrick Stockton LLP (Monica Roberts) to           8.86
                 Claude Ray Ford Sales, Inc Claude Ray) in ELBERTON GA on
                                           (


                 10/22/10 Tracking #79404135020 1
10/29/2010       Federal Express from Kilpatrick Stockton LLP (Monica Roberts) to           8.86
                 Claude Ray Ford Sales, Inc Jason P Ray) in ELBERTON GA on
                                           (


                 10/22/10 Tracking #794041354089
10/29/2010       Federal Express from Kilpatrick Stockton LLP (Monica Roberts) to           8.86
                 Claude Ray Ford Sales, Inc Thomas D Ray) in ELBERTON GA on
                                           (


                 10/22/10 Tracking #796373874231
10/29/2010       Federal Express from Kilpatrick Stockton LLP (Monica Roberts) to   (
                                                                                           12.69
                 Jason P Ray) in ELBERTON GA on 10/22/10 Tracking #796373882457
10/29/2010       Federal Express from Kilpatrick Stockton LLP (Monica Roberts) to   (
                                                                                           12.69
                 Thomas D Ray) in ELBERTON GA on 10/22/10 Tracking
                 4796373884563
10/29/2010       Federal Express from Kilpatrick Stockton LLP (Monica Roberts) to   (
                                                                                            9.72
                 Claude E Ray) in ATHENS GA on 10/22/10 Tracking #796373886485
                 Document Reproduction                                                      1.50

                                          Total Other Charges                             $63.18

TOTAL AMOUNT DUE THIS INVOICE                                                           $1,614.18
V         KILPATRICK
                                                                                                                                           Please Remit Payments Only To:
                                                                                                                                                           P.O. Box 945614
                                                                                                                                                    Atlanta, Georgia 30394
          TOWNSEND                                                                                                                                Telephone (866) 244-4934
         ATTORNEYS AT LAW                                                                                                                    www.kilpatricktownsend.com
                                                                                                                                                       Fed I.D. XX-XXXXXXX




February 17, 2011

DEALER COMPUTER SERVICES, INC.                                                                               Client:                        49123
C/O AARON D. WEINBERG, ESQ.                                                                                  Matter:                        389934
JOHN C. ALLEN, ESQ.                                                                                          Invoice #:                     11159095
TWO HOUSTON CENTER
909 FANN1N, SUITE 1225
HOUSTON, TX 77010

RE: CLAUDE RAY FORD

For Professional Services Through January 31, 2011:

Date              Initials Description                                                                                                          Hours                   Amount
                                                                                           Redact ed
01/11/2011 YMN Correspondence with Mr. Allen regarding defendant’s failure                                                                         0.20                     59.00
                  to comply with court’s discovery order.
01/21/2011 YMN Correspondence with Mr. Daugherty regarding defendant’s                                                                             0.30                     88.50
                  failure to comply with court’s discovery order.



                                                                                  Redacted



01/26/2011 YMN Correspondence with Judge’s clerk regarding Claude Ray                                                                              0.70                   206.50
                  Ford’s failure to comply with order granting motion to
                  compel; correspondence with Mr. Singleton regarding same.
01/28/2011 YMN Research Middle District case law        Redacted                                                                                   3.60                1,062.00
                                                  review and analyze same;
                 draft motion for contempt; draft memorandum of law in
                 support of motion for contempt.
01/31/2011 YMN Correspondence with Mr. Singleton regarding motion for                                                                               1.30                  383.50
                  contempt and supporting memorandum.
                        Amounts are calculated per entry, rounding discrepancies may occur in summaries or totals as a
                                                       result ofprearranged discounts.

                                        Other Charges include a reasonable allocation of related overhead expenses.
                                   Due and Payable upon receipt. 1% interest per month charged on balances after 30 days.
    ATLANTA AUGUSTA CHARLOTTE DENVER DUBAI NEW YORK OAKLAND PALO ALTO RALEIGH SAN DIEGO SAN FRANCISCO   SEATTLE STOCKHOLM TAIPEI TOKYO WALNUT CREEK WASHINGTON. DC WINSTON-SALEM
49123/389934                                                       Page 2




                              Total Fees                         $1,999.50

Other Charges:
01/28/2011       Westlaw On-Line Legal Research                      20.74
                 Document Reproduction                                1.80
                                           Total Other Charges     $22.54

TOTAL AMOUNT DUE THIS INVOICE                                    $2,022.04
V K I I PAT R IC K                                                                                                                         Please Remit Payments Only To:
                                                                                                                                                           P.O. Box 945614
 I TOW N SE N D                                                                                                                                    Atlanta, Georgia 30394
                                                                                                                                                 Telephone (866) 244-4934
         ATTORNEYS AT LAW                                                                                                                     www.kitpatricktownsend.com
                                                                                                                                                      Fed I.D. XX-XXXXXXX




March 18, 2011

DEALER COMPUTER SERVICES, INC.                                                                               Client:                        49123
C/O AARON D. WEiNBERG, ESQ.                                                                                  Matter:                        389934
JOHN C. ALLEN, ESQ.                                                                                          Invoice #:                     11165495
TWO HOUSTON CENTER
909 FANNIN, SUITE 1225
HOUSTON, TX 77010

RE: CLAUDE RAY FORD

For Professional Services Through February 28,2011:

Date              Initials Description                                                                                                          Hours                   Amount
02/02/2011        YMN            Draft declaration of Y. Neely; revise memorandum of law in                                                        0.90                   265.50
                                 support of motion for sanctions; coordinate filing of motion
                                 for sanctions.
02/02/2011        MLR            Review and revise motion for sanctions and supporting                                                              0.90                   180.00
                                 documents; electronically file same with the Court; forward
                                 filed copies to Mr. Daugherty and Mr. Allen.
02/02/2011        BLS            Review motion and supporting doocuments.                                                                          0.40                    198.00




                                                                                    Redacted




02/16/2011 YMN Review Show Cause Order; correspondence with Mr. Allen                                                                              0.30                     88.50
                  and Mr. Daughtery regarding same.
02/16/2011 BLS                   Review order; update client; conference with Ms. Neely                                                            0.30                    148.50
                                 regarding hearing strategy.


                        Amounts are calculated per entry, rounding discrepancies may occur in summaries or totals as a
                                                       result ofprearranged discounts.

                                        Other Charges include a reasonable allocation of related overhead expenses.
                                   Due and Payable upon receipt. 1% interest per month charged on balances after 30 days.
    ATLANTA AUGUSTA CHARLOTTE DENVER DUBAI NEW YORK OAKLAND PALO ALTO RALEIGH SAN DIEGO SAN   FRANCISCO SEATTLE STOCKHOLM TAIPEI TOKYO WALNUT CREEK WASHINGTON, DC WINUTON.SALEM
49123/389934                                                                               Page 2




                               Total Fees                                                $1,268.00

Other Charges:
02/11/2011       Federal Express from Kilpatrick Stockton LLP (HARRIS & LIKEN) to            21.97
                 KILPATRICK STOCKTON LLP ( MONICA ROBERTS) in ATLANTA
                 GA on 02/07/11 Tracking #873802133029 (no matter # provided)
02/25/2011       Federal Express from Kilpatrick Stockton LLP (Monica Roberts) to John      44.34
                 C Allen, a Professiona John Daugherty) in HOUSTON TX on 02/17/11
                 Tracking #794440244701
                 Document Reproduction                                                     202.65

                                            Total Other Charges                           $268.96

TOTAL AMOUNT DUE THIS INVOICE                                                            $1,536.96
F      KILPATRICK
                                                                                                                                             Please Remit Payments Only To:
                                                                                                                                                             P.O. Box 945614
                                                                                                                                                      Atlanta, Georgia 30394
    . TOWNSEND                                                                                                                                      Telephone (866) 244-4934
            ATTORNEYS AT LAW                                                                                                                    www.kilpatricktownsefld.com
                                                                                                                                                        Fed I.D. XX-XXXXXXX




April 12, 2011

DEALER COMPUTER SERVICES, INC.                                                                                 Client:                        49123
CIO AARON D. WEINBERG, ESQ.                                                                                    Matter:                        389934
JOHN C. ALLEN, ESQ.                                                                                            Invoice #:                     11168906
TWO HOUSTON CENTER
909 FANNIN, SUITE 1225
HOUSTON, TX 77010

RE: CLAUDE RAY FORD

For Professional Services Through March 31, 2011:

Date                 Initials Description                                                                                                         Hours                   Amount
03/09/2011           YMN            Review Order of Referral; correspondence with Ms. Allen                                                           0.30                    88.50
                                    regarding same.

                                                                                    Redacted

03/17/2011           BLS            Review order; update Mr. Allen; conference with Ms. Neely.                                                        0.30                   148.50
03/22/2011           BLS            Conference with opposing counsel; review correspondence                                                           1.10                  544.50
                                    from opposing counsel; conference with Mr. Daughteiy.
03/28/2011           YMN            Review correspondence from Messrs. Phelps and Singleton                                                           0.40                   118.00
                                    regarding document production; correspondence with Mr..
                                    Phelps regarding show cause hearing.
03/29/2011           YMN            Draft declaration of Mr.. Singleton regarding document                                                            2.70                  796.50
                                    production conversations with Defendant’s counsel;
                                    conference with Mr. Phelps regarding intention to proceed
                                    with show cause hearing; conference with Mr. Graves
                                    regarding document production and show cause hearing;
                                    prepare exhibits and documents for show cause hearing.
03/29/2011           MLR            Prepare documents for Ms. Neely to be used for hearing.                                                           0.80                   160.00



                           Amounts are calculated per entry, rounding discrepancies may occur in summaries or totals as a
                                                          result ofprearranged discounts.

                                           Other Charges include a reasonable allocation of related overhead expenses.
                                      Due and Payable upon receipt. 1% interest per month charged on balances after 30 days.
       ATLANTA AUGUSTA CHARLOTTE DENVER OUBM NEW YORK OAKLAND PALO ALTO RALEIGH SAN DIEGO SAN   FRANCISCO SEATTLE STOCKHOLM TAIPEI TOKYO WALNUT CREEK WASHINGTON, DC IWNUTON-SALEM
49123/389934                                                                                 Page 2




Date         Initials Description                                                  Hours    Amount
03/30/2011   YMN     Prepare for hearing; conference with Mr.. Graves regarding     3.90    1,150.50
                     document production; review documents for compliance with
                     request for production; appear at Show Cause Hearing;
                     conference with Mr. Singleton regarding show cause hearing;
                     correspondence with Mr. Allen regarding same.
03/30/2011   MLR     Conference with Ms. Neely regarding hearing and documents      0.40       80.00
                     produced; conference with copy vendor regarding documents
                     produced by defendants.
03/31/2011   MLR     Forward original production documents to Mr. Graves;           0.60      120.00
                     forward a copy of same to Mr. Allen; download minute entry
                     and order from court docket.

                               Total Fees                                                  $3,246.50


Other Charges:
                 Document Reproduction                                                          8.10

                                            Total Other Charges                                $8.10

TOTAL AMOUNT DUE THIS INVOICE                                                              $3,254.60
lw"uII,J.w’
                                                       JL)I1I’ L.   L..LI4,   .

                                                          Attorney at Law
                                                            909 Fannin
                                                     1225 Two Houston Center
                                                      Houston, Texas 77010
                                                          (713) 654-7000

                                                       Tax I.D. #XX-XXXXXXX

                                                                                                             Page: 1
         Universal Computer Services, Inc.                                                                09/02/2010
         6700 Hollister                                                                     ACCOUNT NO:    548-371M
         Houston TX 77040                                                                 STATEMENT NO:           39

         ATTN: Mr. Scott Cherry



         Dealer Computer Services, Inc. f/k/a Ford Dealer
         Computer Services, Inc. v. Claude Ray Ford, Inc.
         Demand for Arbitration
         Case #70 117 Y 0043007




                                                                                               HOURS
08/25/2010
                                                    Redacted


08/27/2010
        JWD        Legal research; draft motion to compel and memorandum of law; review
                   materials from local counsel                                                   4.50       945.00
                   FOR LEGAL SERVICES RENDERED                                                    5.10     1,095.00



                  Photocopies                                                                                 36.75
                  TOTAL EXPENSES THRU 08/31/2010                                                              36.75

                  PREVIOUS BALANCE                                                                         $272.00

                  TOTAL CURRENT WORK                                                                       1,131.75



08/24/2010        Payment - Thank You.                                                                     -272.00


                  BALANCE DUE




                  Please reference your account and statement number on your
                  check.

                                  Thank You!
                                                        JOHN C. ALLEN, P.C.
                                                           Attorney at Law
                                                             909 Fannin
                                                                                           f
                                                      1225 Two Houston Center
                                                       Houston, Texas 77010
                                                           (713) 654-7000

                                                        Tax I.D. #XX-XXXXXXX

                                                                                                                  Page: 1
         Universal Computer Services, Inc.                                                                     10/01/2010
         6700 Hollister                                                                          ACCOUNT NO:    548-371M
         Houston TX 77040                                                                      STATEMENT NO:           40

         ATTN: Mr. Scott Cherry



         Dealer Computer Services, Inc. flkla Ford Dealer
         Computer Services, Inc. v. Claude Ray Ford, Inc.
         Demand for Arbitration
         Case #70 117 V 00430 07




                                                                                                    HOURS
09/07/2010
        JWD        Draft memorandum: draft motion to compel; draft proposed order: legal
                   research; assemble exhibits for motion to compel                                    3.10       651.00

09/09/2010
        JWD        PACER computer record searches; draft affidavit for Mr. Singleton                   0.50       105.00

09/21/2010
        JCA        Review and revise motion to compel production of documents                          0.40       100.00

        JWD        Draft affidavit in connection with motion to compel: revise motion to
                   compel                                                                              0.50       105.00
                   FOR LEGAL SERVICES RENDERED                                                         4.50       961.00



                   Photocopies                                                                                      1.00
                   PACER - computer record searches                                                                 2.32
                  TOTAL EXPENSES THRU 09/30/2010                                                                    3.32

                  PREVIOUS BALANCE                                                                             $1,131.75

                  TOTAL CURRENT WORK                                                                             964.32



09/21/2010        Payment - Thank You.                                                                         -1,13115


                  BALANCE DUE                                                                                   $964
                                                    JOHN C. ALLEN, P.C.
                                                        Attorney at Law
                                                          909 Fannin
                                                   1225 Two Houston Center
                                                    Houston, Texas 77010
                                                        (713) 654-7000

                                                      Tax I.D. #XX-XXXXXXX

                                                                                                      Page: 1
        Universal Computer Services, Inc.                                                          01/04/2011
        6700 Hollister                                                               ACCOUNT NO:    548-371M
        Houston TX 77040                                                           STATEMENT NO:           43

        ATTN: Mr. Scott Cherry



        Dealer Computer Services, Inc. f/kla Ford Dealer
        Computer Services, Inc. v. Claude Ray Ford, Inc.
        Demand for Arbitration
        Case #70 117 Y00430 07




                                                                                         HOURS
12/07/2010
        JCA       Receipt and review of court’s order regarding motion to compel           0.30        75.00

        JWD       Review order regarding motion to compel                                  0.20        42.00
                  FOR LEGAL SERVICES RENDERED                                              0.50       117.00

                  PREVIOUS BALANCE                                                                   $100.00

                  TOTAL CURRENT WORK                                                                  117.00




12/15/2010        Payment - Thank You.                                                                 I.I.III.



                  BALANCE DUE                                                                        $117.00




                  Please reference your account and statement number on your
                  check.

                                 Thank You
                                                        JOHN U.  ALLEN, P.C.
                                                           Attorney at Law
                                                             909 Fannin
                                                      1225 Two Houston Center
                                                       Houston, Texas 77010
                                                           (713) 654-7000

                                                        Tax I.D. #XX-XXXXXXX

                                                                                                                   Pace: I
         Universal Computer Services, Inc.                                                                     02/02/201 1
         6700 Hollister                                                                          ACCOUNT NO:    548-371M
         Houston TX 77040                                                                      STATEMENT NO:           44

         ATTN: Mr. Scott Cherry



         Dealer Computer Services, Inc. f/kla Ford Dealer
         Computer Services, Inc. v. Claude Ray Ford, Inc.
         Demand for Arbitration
         Case #70 117 Y 00430 07




                                                                                                    HOURS
01/13/2011
         JCA       Receipt and review of email concerning status of court’s order
                   compelling discovery                                                                0.40       100.00


                                                            Redacted
01/24/2011
         JCA       Receipt and review of email regarding motion for sanctions for failure to
                   produce documents; prepare response thereto                                         0.40       100.00
                   FOR LEGAL SERVICES RENDERED                                                                    242.00

                   PREVIOUS BALANCE                                                                              $117.00

                   TOTAL CURRENT WORK                                                                             242.00



01/19/2011        Payment - Thank You.                                                                           -117.00


                  BALANCE DUE                                                                                   $242.00




                  Please reference your account and statement number on your
                  check.

                                  Thank You!
                                                           JOHN C. ALLEN, P.C.
                                                              Attorney at Law
                                                                909 Fannin
                                                         1225 Two Houston Center
                                                          Houston, Texas 77010
                                                              (713) 654-7000

                                                            Tax I.D. #XX-XXXXXXX

                                                                                                                       Page: 1
             Universal Computer Services, Inc.                                                                      03/02/2011
             6700 Hollister                                                                           ACCOUNT NO:    548-371M
             Houston TX 77040                                                                       STATEMENT NO:           45

         ATTN: Mr. Scott Cherry



         Dealer Computer Services, Inc. flkla Ford Dealer
         Computer Services, Inc. v. Claude Ray Ford, Inc.
         Demand for Arbitration
         Case #70 117 Y00430 07




                                                                                                         HOURS
02/01/2011
        JCA           Review and revise motion for sanctions and brief in support thereof for
                      failure to produce documents                                                          0.40       100.00

         JWD          Review proposed sanctions motion                                                      0.20        42.00

02/03/2011
        JCA           Receipt and review of motion for sanctions for failure to comply with prior
                      court order; review motion and authorities in connection therewith                    0.50       125.00

02/14/2011
        JCA           Telephone conference with               regarding motion for sanctions
                      and collection efforts                                                                0.30        75.00

02/16/2011
        JWD           Review correspondence from local counsel and court order                             0.20         42.00

02/17/2011
        JCA           Receipt and review of court’s order compelling personal appearance on
                      behalf of representatives of Claude Ray Ford; calendar same                          0.30        7500

)2/28/2011
         JCA          Receipt and review of email regarding hearing on motion for contempt;
                      prepare response thereto                                                             040        100.00
                      FOR LEGAL SERVICES RENDERED                                                          2.30       559.00

                     PREVIOUS BALANCE                                                                                $242.00

                     TOTAL CURRENT WORK                                                                               559.00



 2/23/2011           Payment - Thank You.                                                                            -242.00
                                                         JOHN C. ALLEN, P.C.
                                                            Attorney at Law
                                                              909 Fannin
                                                       1225 Two Houston Center
                                                        Houston, Texas 77010
                                                            (713) 654-7000

                                                         Tax I.D. #XX-XXXXXXX

                                                                                                                   Pace
            Universal Computer Services, Inc.                                                                  04!05/201
            6700 Hollister                                                                       ACCOUNT NO     548-371i\i
            Houston TX 77040                                                                   STATEMENT NO:            46

            ATTN; Mr. Scott Cherry




            Dealer Computer Services. Inc. f/k/a Ford Dealer
            Computer Services. Inc. v. Claude Ray Ford, Inc.
            Demand for Arbitration
            Case #70 117 ’(0043007




                                                                                                    HOURS
33/09/2011




                                                               Redacted




)3/22/2011
         JWD         Review emails; telephone call with local counsel                                  0.40        84.00

3/27/2011
        JCA          Receipt and review of emails regarding discovery, hearing on motion for
                     contempt, and notice of hearing                                                  0.40        100.00

3/28/2011
        JCA          Receipt and review of email from Mr. Singleton regarding motion for
                     contempt; telephone conference with Mr. Singleton regarding proceeding
                     with motion for contempt                                                         0.50       125.00

       JWD           Review correspondence from local counsel; telephone conference with
                     local counsel; research dealership status                                        0.50       105.00

3/29/2011
        JCA          Receipt and review of email regarding hearing on motion for contempt             0.30        75,00

3/31/2011

                                                               Redacted

                    FOR LEGAL SERVICES RENDERED                                                       3.60       848.00
                                                                                                     Page: 2
            Universal Computer Services, Infis                                                   04/05/2011
                                                                                   ACCOUNT NO:    548-371M
                                                                                 STATEMENT NO:
            Dealer Computer Services. Inc. f/k/a Ford Dealer
            Computer Services. Inc. v. Claude Ray Ford Inc.
            Demand for Aroitration
            Case #70 117 Y 0043007


                      PREVIOUS BALANCE                                                             S559.OQ

                      TOTAL CURRENT WORK                                                            848.00



03/22/201             Payment - Thank You.


                     BALANCE DUE                                                                   8848.00




                    Please reference your account and statement number on your
                    check.

                                  Thank Youl.
                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on May 11, 2011, the foregoing AFFIDAVIT OF
YENDELELA NEELY ANDERSON REGARDING ATTORNEY’S FEES AND COSTS
IN SUPPORT OF PLAINTIFF’S MOTION FOR SANCTIONS FOR DEFENDANT’S
DISOBEDIENCE OF THE COURT’S POST-JUDGMENT DISCOVERY ORDER was
electronically filed with the Clerk of Court using the CM/ECF system. The undersigned also
certifies that the above-referenced document was mailed to Defendant, by first class United
States Mail, postage prepaid this same day to the following addresses:



R. Daniel Graves, Esq.
Phelps & Campbell, LLP
313 Heard Street
P.O. Box 1056
Elberton, Georgia 30635
rdgelberton.net

                                            /s/Yendelela N. Anderson
KILPATRICK TOWNSEND &                       Burleigh L. Singleton
STOCKTON LLP                                Georgia Bar No. 649084
1100 Peachtree Street                       Yendelela N. Anderson
Suite 2800                                  Georgia Bar No. 424429
Atlanta, Georgia 30309-4530
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yanderson@KilpatrickTownsend.com            Counsel for Plaintiff
